     Case 4:21-cv-04056 Document 1-1 Filed on 12/13/21 in TXSD Page 1 of 15




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

KICKCITY USA, INC. AND                     §
CHINONSO EZEUDU,                           §
                                           §
            Plaintiff,                     §
                                           §          Case No. 4:21-cv-04056
v.                                         §
                                           §
T-MOBILE US, INC.,                         §
                                           §
            Defendant.                     §


      INDEX OF MATERIALS ATTACHED TO NOTICE OF REMOVAL


Exhibit #       Date Filed   Document
A-1             11/12/2021   Plaintiffs’ Original Petition and Request for Disclosure
A-2             11/15/2021   Request for Issuance of Service
A-3             N/A          Docket Sheet
A-4             N/A          Docket Summary




                                                                      EXHIBIT A
     Case 4:21-cv-04056 Document 1-1 Filed on 12/13/21 in TXSD Page 2 of 15                          11/12/2021 5:23 PM
                                                                           Marilyn Burgess - District Clerk Harris County
                                                                                                Envelope No. 59134254
                         2021-74650 / Court: 269                                        By: Cynthia Clausell-McGowan
                                                                                             Filed: 11/12/2021 5:23 PM

                                  CAUSE NO. ------

KICKCITY USA,INC. and                       §       IN THE DISTRICT COURT OF
CHINONSO EZEUDU,                            §
                                            §
       Plaintiffs,                          §
                                            §
V.                                          §        HARRIS COUNTY,TEXAS
                                            §
T-MOBILE US,INC.                            §
                                            §
       Defendant.                           §             JUDICIAL DISTRICT

                           PLAINTIFFS' ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       Plaintiffs, KickCity USA, Inc. and Chinonso Ezeudu ("Ezeudu" or "Plaintiffs"), files this

Plaintiffs' Original Petition complaining of Defendant T-Mobile US, Inc. ("T-Mobile" or

"Defendant") and for causes of action would respectfully show this Court as follows:

                                          PARTIES

       1.     KickCity USA, Inc., is a Wyoming corporation and is doing business in Houston,

Harris County, Texas.

       2.     Mr. Ezeudu is a citizen and resident of Houston, Harris County, Texas.

       3.     Defendant is a Delaware corporation authorized to do business in Texas and may

be served with process through its registered agent, SilverCom, Inc., 11830 Webb Chapel Road,

Suite 5000, Dallas, Texas 75234-2783.

                                     DISCOVERY PLAN

       4.     Discovery in this case is intended to be conducted under level 2 of Rule 190 of the

Texas Rules of Civil Procedure.




                                                1

                                                                            EXHIBIT A-1
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Case 4:21-cv-04056 Document 1-1 Filed on 12/13/21 in TXSD Page 11 of 15
Case 4:21-cv-04056 Document 1-1 Filed on 12/13/21 in TXSD Page 12 of 1511/15/2021 12:30 PM
                                                             Marilyn Burgess - District Clerk Harris County
                                                                                  Envelope No. 59159831
                                                                                        By: Rhonda Momon
                                                                              Filed: 11/15/2021 12:30 PM




                                                                    EXHIBIT A-2
               Case 4:21-cv-04056 Document 1-1 Filed on 12/13/21 in TXSD Page 13 of 15
                                       Harris County Docket Sheet


2021-74650
COURT: 269th
FILED DATE: 11/12/2021
CASE TYPE: Other Injury or Damage

                                      KICKCITY USA INC
                                    Attorney: BEIK, PAUL STEPHEN

                                                 vs.
                                      T-MOBILE US INC


                                         Docket Sheet Entries
             Date       Comment




                                                                            EXHIBIT A-3

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269                                                                          12/13/2021 3:01:51 PM
12/13/21, 1:11 PM   Case 4:21-cv-04056 DocumentOffice
                                                 1-1of Harris
                                                        Filed    on District
                                                              County 12/13/21        in TXSD
                                                                             Clerk - Marilyn Burgess Page 14 of 15


  HCDistrictclerk.com                  KICKCITY USA INC vs. T-MOBILE US INC                                                  12/13/2021
                                       Cause: 202174650   CDI: 7   Court: 269

  APPEALS
  No Appeals found.

  COST STATMENTS
  No Cost Statments found.

  TRANSFERS
  No Transfers found.

  POST TRIAL WRITS
  No Post Trial Writs found.

  ABSTRACTS
  No Abstracts found.

  SETTINGS
  No Settings found.

  NOTICES
  No Notices found.

  SUMMARY
   CASE DETAILS                                                        CURRENT PRESIDING JUDGE
   File Date                    11/12/2021                             Court                269th
   Case (Cause) Location        Civil Intake 1st Floor                 Address              201 CAROLINE (Floor: 13)
   Case (Cause) Status          Active - Civil                                              HOUSTON, TX 77002
                                                                                            Phone:7133686370
   Case (Cause) Type            PERSONAL INJ (NON-AUTO)
                                                                       JudgeName            CORY SEPOLIO
   Next/Last Setting Date       N/A
                                                                       Court Type           Civil
   Jury Fee Paid Date           11/15/2021



  ACTIVE PARTIES
  Name                                                    Type                                                    Post Attorney
                                                                                                                  Jdgm
  KICKCITY USA INC                                        PLAINTIFF - CIVIL                                                BEIK, PAUL
                                                                                                                           STEPHEN
  T-MOBILE US INC                                         DEFENDANT - CIVIL
  EZEUDU, CHINONSO                                        PLAINTIFF - CIVIL                                                BEIK, PAUL
                                                                                                                           STEPHEN
  T-MOBILE US INC (DELAWARE CORPORATION)                  REGISTERED AGENT
  MAY BE SERVED THROUGH ITS


  INACTIVE PARTIES                                                                                                        EXHIBIT A-4
https://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=bX++pfmv2YIYteXDdvLRIhZkIlX0bSD73ujJlRzRlKGJdC/VQ2lAZdm/5O+cfJOHob…   1/2
             Case 4:21-cv-04056 DocumentOffice
12/13/21, 1:11 PM                         1-1of Harris
                                                 Filed    on District
                                                       County 12/13/21        in TXSD
                                                                      Clerk - Marilyn Burgess Page 15 of 15

  No inactive parties found.

  JUDGMENT/EVENTS
  Date  Description                                       Order        Post Pgs Volume Filing                      Person
                                                          Signed       Jdgm     /Page Attorney                     Filing
  11/12/2021        JURY FEE PAID (TRCP 216)                                 0
  11/12/2021        ORIGINAL PETITION                                        0              BEIK, PAUL             KICKCITY USA INC
                                                                                            STEPHEN
  11/12/2021        ORIGINAL PETITION                                        0              BEIK, PAUL             EZEUDU, CHINONSO
                                                                                            STEPHEN



  SERVICES
  Type   Status                  Instrument Person                 Requested Issued Served Returned Received Tracking Deliver
                                                                                                                      To
  CITATION  SERVICE    ORIGINAL                  T-MOBILE US  11/15/2021     11/16/2021                                 73939572    E-MAIL
  CORPORATE ISSUED/IN PETITION                   INC
            POSSESSION                           (DELAWARE
            OF SERVING                           CORPORATION)
            AGENCY                               MAY BE
                                                 SERVED
                                                 THROUGH ITS
         211 E 7TH STREET SUITE 620 AUSTIN TX 78701



  DOCUMENTS
  Number                Document                                                                             Post Date              Pgs
                                                                                                             Jdgm
  98957133              Request for Issuance of Service Citation                                                   11/15/2021       1
  98945574              Plaintiff Original Petition                                                                11/12/2021       10




https://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=bX++pfmv2YIYteXDdvLRIhZkIlX0bSD73ujJlRzRlKGJdC/VQ2lAZdm/5O+cfJOHob…   2/2
